                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
                                                            21SL-CC05375
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 1 of 8 PageID #: 42
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 2 of 8 PageID #: 43
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 3 of 8 PageID #: 44
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 4 of 8 PageID #: 45
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 5 of 8 PageID #: 46
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 6 of 8 PageID #: 47
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 7 of 8 PageID #: 48
                                                                              Electronically Filed - St Louis County - November 10, 2021 - 02:57 PM
Case: 4:21-cv-01491-SPM Doc. #: 7 Filed: 12/21/21 Page: 8 of 8 PageID #: 49
